Case 2:23-cv-00127-KD-N Document 25 Filed 07/21/23 Page 1 of 2                      PageID #: 445




              IN THE UNITED STATES DISTRICT COURT FOR THE
                     SOUTHERN DISTRICT OF ALABAMA
                           NORTHERN DIVISION


PATRICK BRAXTON, JAMES       )
BALLARD BARBARA PATRICK,     )
JANICE QUARLES AND WANDA     )
SCOTT,                       )
                             )
    Plaintiffs,              )
                             )
v.                           )                            CASE NO.: 23-CV-00127-KD-N
                             )
HAYWOOD STOKES, III, GARY    )
BROUSSARD, JESSE DONALD      )
LEVERETT, WILLIE RICHARD     )
TUCKER, LYN THIEBE AND       )
PEOPLE’S BANK OF GREENSBORO, )
                             )
    Defendants.

             STIPULATION OF DISMISSAL OF DEFENDANT LYN THIEBE

       Pursuant to Rule 41(a)(1)(A) of the Federal Rules of Civil Procedure, the Plaintiffs

voluntarily dismiss without prejudice the Defendant Lyn Thiebe. The Defendant Thiebe has not

filed either an answer or a motion for summary judgment. The Defendant Ms. Thiebe stipulates to

the voluntary dismissal and further stipulates that her motion to dismiss is now moot. The Plaintiffs

and Ms. Thiebe agree to pay their own costs and attorneys fees.

       Respectfully submitted,

/s/ Keith A. Jones                                            /s/ Richard P. Rouco
Assistant United States Attorney                              Quinn, Connor, Weaver, Davies
Southern District of Alabama                                  & Rouco
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Case 2:23-cv-00127-KD-N Document 25 Filed 07/21/23 Page 2 of 2                      PageID #: 446




                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 21, 2023, I filed a true and correct copy of the foregoing via
the Court’s CM/ECF system, which will notify and serve the following counsel of record:

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                                                      /s/ Richard P. Rouco
                                                      Richard P. Rouco
